                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

      v.                                               Case No. 05-CR-311

BORIS ALEXEEV
                    Defendant.


                              SENTENCING MEMORANDUM

      The government indicted defendant Boris Alexeev for conspiring to launder money,

contrary to 18 U.S.C. § 1956(h). The charges arose out of defendant’s efforts to assist Ronald

Miserendino, his sister’s then-boyfriend, to conceal the proceeds of Miserendino’s fraud

scheme, some $4.8 million. Pursuant to an agreement with the government, defendant

pleaded guilty to an information charging him with structuring financial transactions to evade

currency reporting requirements, contrary to 31 U.S.C. § 5324(a)(3). However, the parties’

agreement also contained a stipulation pursuant to U.S.S.G. § 1B1.2 that defendant’s

sentencing guideline range would be calculated based on the more serious offense of money

laundering. Those guidelines produced a range of 46-57 months in prison.1

      The government recommended a non-guideline sentence of 24 months under 18 U.S.C.

§ 3553(a), while defendant requested a sentence of probation with a condition of home

detention. Under all of the circumstances, I agreed with the government that prison was

      1
         Under the money laundering guidelines, defendant’s base offense level was 8, U.S.S.G.
§ 2S1.1(a)(2); plus 18 based on the amount involved, §§ 2S1.1(a)(2) & § 2B1.1(b)(1)(J); plus
2 because the offense arose under 18 U.S.C. § 1956, § 2S1.1(b)(2)(B); minus 2 for minor role
in the offense, § 3B1.2(b); and minus 3 for acceptance of responsibility, § 3E1.1, producing a
final level of 23.


    Case 2:05-cr-00311-LA      Filed 05/02/08    Page 1 of 8    Document 169
necessary in this case. I therefore imposed a sentence of 12 months total confinement, split

into 6 months prison and 6 months home detention. This memorandum sets forth the reasons

for the sentence imposed. See 18 U.S.C. § 3553(c).

                             I. SENTENCING METHODOLOGY

       In imposing sentence, the district court must first calculate the advisory guideline range,

then select an appropriate sentence under all of the factors set forth in 18 U.S.C. § 3553(a).

United States v. Holt, 486 F.3d 997, 1004 (7th Cir. 2007); see also Gall v. United States, 128

S. Ct. 586, 596 (2007); United States v. Harris, 490 F.3d 589, 593 (7th Cir. 2007), cert. denied,

128 S. Ct. 963 (2008). In the present case, without objection I adopted the guideline range of

46-57 months recommended in the pre-sentence report.

       I turned then to § 3553(a), which requires the court to consider:

       (1)    the nature and circumstances of the offense and the history and
              characteristics of the defendant;

       (2)    the need for the sentence imposed–

              (A) to reflect the seriousness of the offense, to promote respect for the law,
              and to provide just punishment for the offense;

              (B) to afford adequate deterrence to criminal conduct;

              (C) to protect the public from further crimes of the defendant; and

              (D) to provide the defendant with needed educational or vocational training,
              medical care, or other correctional treatment in the most effective manner;

       (3)    the kinds of sentences available;

       (4)    the advisory guideline range;

       (5)    any pertinent policy statements issued by the Sentencing Commission;

       (6)    the need to avoid unwarranted sentence disparities; and


                                                2


    Case 2:05-cr-00311-LA        Filed 05/02/08     Page 2 of 8    Document 169
       (7)    the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a).

       After considering these factors, the court must impose a sentence that is “sufficient but

not greater than necessary” to satisfy the purposes of sentencing – just punishment,

deterrence, protection of the public and rehabilitation of the defendant. § 3553(a)(2). This so-

called “parsimony provision” represents the “overarching” command of the statute, Kimbrough

v. United States, 128 S. Ct. 558, 570 (2007), and serves as “the guidepost for sentencing

decisions post-Booker,” United States v. Ferguson, 456 F.3d 660, 667 (6th Cir. 2006). The

district court must make an independent determination of what sentence is sufficient, but not

greater than necessary, taking into account the advisory guidelines range, the relevant §

3553(a) factors, and any other non-frivolous arguments presented in support of a particular

sentence. United States v. Wilms, 495 F.3d 277, 282 (6th Cir. 2007). The court may not

presume that the guideline sentence is the correct one, Rita v. United States, 127 S. Ct. 2456,

2465 (2007), or place “any thumb on the scale favoring a guideline sentence.” United States

v. Sachsenmaier, 491 F.3d 680, 685 (7th Cir. 2007); see also United States v. Demaree, 459

F.3d 791, 794-95 (7th Cir. 2006), cert. denied, 127 S. Ct. 3055 (2007) (stating that while §

3553(a)(4) “nudges” the court towards the guideline range, the court’s “freedom to impose a

reasonable sentence outside the range is unfettered”).

                                       II. DISCUSSION

A.     Nature of Offense

       As indicated above, this prosecution arose out of the government’s investigation of

Ronald Miserendino, who devised and carried out a scheme to defraud his then-wife, the



                                               3


     Case 2:05-cr-00311-LA      Filed 05/02/08     Page 3 of 8    Document 169
corporation he operated and a bank that loaned the company money. The details of the

scheme are unimportant, but Miserensino fraudulently obtained around $5 million, most of

which he converted to cash; his primary motive appeared to be preventing his wife from

obtaining her share of the couple’s assets during their divorce. I sentenced Miserendino to four

years in prison for his conduct.

       As part of his scheme, Miserendino transported about $4.8 million in cash to Australia,

which he placed on safe deposit boxes. At Miserendino’s request, defendant traveled from his

home in Portland, Oregon to Australia on three occasions and retrieved a total of $1.9 million.

According to Miserendino, defendant kept about 10% for himself and provided the rest to

Miserendino. Defendant claimed to receive only $25,000, but as the government noted at

sentencing, defendant’s bank deposits supported Miserendino’s version.

       During the months after Miserendino’s first trip to Australia defendant made numerous

cash deposits to his bank account totaling about $172,500.           During the months after

Miserendino’s arrest in this case in November 2005, defendant deposited another $471,000,

some of which he used to purchase a residence and a vehicle. In December 2005, defendant

deposited another $100,000 in proceeds of Miserendino’s scheme into a bank account, which

he used to pay Miserendino’s lawyer. Later in December 2005, defendant testified falsely at

Miserendino’s bond hearing, claiming that he had never given Miserendino any significant

amount of money and that Miserendino had never given him more than $500. In March 2006,

defendant deposited another $100,000 in proceeds of Miserendino’s scheme into his bank

account, which he again used to pay Miserendino’s lawyers. Pursuant to recorded phone calls

after Miserendino’s arrest, the government also learned of about $570,000 in cash proceeds

that defendant retained in his home, and that the two were trying to create the false impression

                                                4


    Case 2:05-cr-00311-LA          Filed 05/02/08   Page 4 of 8   Document 169
that Miserendino had no money and defendant was loaning him funds to pay his lawyer. In

April 2006, Miserendino solicited defendant to retrieve the rest of the Australian funds, but

defendant was arrested before he could do so, and Australian authorities seized the money at

the government’s behest.

       Regarding the specific structuring activities, which formed the basis for the offense of

conviction, defendant made numerous cash deposits (using the proceeds of Miserendino’s

scheme) designed to evade currency transaction reporting requirements. As indicated above,

while defendant pleaded guilty to structuring, the parties agreed that the guidelines should be

based on money laundering, as defendant’s actions assisted Miserendino in secreting the

proceeds of his fraud. Thus, the guideline range was based primarily on the $4.8 million

Miserendino laundered, even though defendant’s gain from the scheme – under either his or

Miserendino’s version – was much less. The parties also agreed that defendant’s role in the

conspiracy overall was minor, that he acted at Miserendino’s direction, and that he played no

role in the underlying fraud.

B.     Character of Defendant

       Defendant was forty-seven years old and his prior record consisted of a few minor

offenses – trespassing, contempt of court and drunk driving. Because only the drunk driving

offense scored under U.S.S.G. § 4A1.2(c), he fell in criminal history category I.

       A well-educated man, defendant earned a master’s degree in his native Russia, where

he also served in the military. He came to this country in 1993 and became a permanent

resident alien a few years later, but his future status in this country was somewhat uncertain

based on his conviction in this case. Defendant worked as a federally licensed firearms dealer

but was forced to liquidate the business based on this conviction, which also jeopardized his

                                              5


     Case 2:05-cr-00311-LA      Filed 05/02/08    Page 5 of 8    Document 169
license.

       Defendant was married and his wife, who had been charged in this case but was later

dismissed, made positive statements about him. She indicated that he developed a good

relationship with her adult children and her mother, who lived with them and required constant

care based on serious health problems. Defendant looked after his mother-in-law during the

day, while his wife worked. The defense indicated that no one else was available to provide

care – defendant’s step-children also worked full-time, and government assistance was

unavailable because the mother-in-law is not a citizen.

       Defendant presented a history of mental health problems, with a diagnosis of bi-polar

disorder, for which he took medication. His doctor indicated that during manic episodes

defendant was “grandiose, impulsive, and reckless in his decision making,” and that his mental

illness could have “altered his ability to make sound judgments.” The record also suggested

that defendant had a problem with alcohol abuse (he committed the drunk driving offense

during the pendency of this case), but he stated that his drinking was a response to stress

caused by the prosecution. I saw no other, significant correctional treatment issues. See 18

U.S.C. § 3553(a)(2)(D).

C.     Purposes of Sentencing

       The guidelines recommended 46-57 months in prison, but as discussed above, this

range was significantly inflated by the amount of money Miserendino laundered, an amount

defendant had no role in selecting and an amount far in excess of defendant’s gain or even the

amount he personally handled. Recognizing that the § 3553(a) factors warranted a sentence

below the range, the government recommended 24 months, ½ of Miserendino’s term. I agreed

that the guidelines’ recommendation was greater than necessary to satisfy the purposes of

                                              6


     Case 2:05-cr-00311-LA     Filed 05/02/08     Page 6 of 8   Document 169
sentencing, and that defendant deserved a sentence far less than Miserendino.

         Defendant asked for a sentence of probation with a condition of home confinement

based on the need to care for his mother-in-law, his mental health problems and the collateral

consequences he faced. These factors merited some consideration under § 3553(a), but I

ultimately agreed with the government that a sentence with no prison component would fail to

provide just punishment.       I concluded, however, that a sentence of less than 2 years’

imprisonment would suffice.

         Given his age, education and minimal prior record, I found that defendant presented little

if any threat to the public, particularly if he were closely monitored and received mental health

treatment. See 18 U.S.C. § 3553(a)(2)(C). Because he had never been to jail before, I also

found a short prison term sufficient to deter him from re-offending. See § 3553(a)(2)(B).

Generally, a lesser period of imprisonment is required to deter a defendant not previously

subject to incarceration than is necessary to deter a defendant who has already served serious

time yet continues to re-offend. United States v. Qualls, 373 F. Supp. 2d 873, 877 (E.D. Wis.

2005).

         Given his minor role in the offense, the possible contribution of his mental health

problems to his behavior, and the significant collateral consequences he faced – including the

loss of his firearms business and possible deportation – I found that the need for just

punishment could be satisfied with a modest period of confinement. However, given the length

of time during which defendant participated in this scheme and the amounts involved, a prison

component was necessary. Defendant’s mental health problems may have explained some

of his poor judgment, but given the numerous acts defendant engaged in as part of this

scheme, some of which seemed more calculated than impulsive, his mental illness really

                                                 7


    Case 2:05-cr-00311-LA         Filed 05/02/08     Page 7 of 8    Document 169
provided an imperfect explanation for his conduct. I also considered defendant’s false

statements to the magistrate judge during Miserendino’s bond hearing.

      Under all of these circumstances, I concluded that a total period of confinement of 12

months – split into 6 months imprisonment followed by 6 months of home detention – was

sufficient to provide just punishment. See § 3553(a)(2)(A). In electing to split the sentence,

I considered the needs of defendant’s mother-in-law, as defendant could provide care during

the home confinement portion. However, as the government persuasively argued, the needs

of this third party did not outweigh the need for punishment based simply on the nature of the

conduct. I understood that defendant’s wife and step-children also worked, but they should be

able to accommodate this sentence given its modest length. The sentence varied from the

guidelines, but because it was based on the peculiar facts of the case and the

recommendations of the parties, it created no unwarranted disparity. See § 3553(a)(6).

                                     III. CONCLUSION

      Therefore, I committed defendant to the custody of the Bureau of Prisons for 6 months,

followed by three years of supervised release. I selected the maximum supervision term to

ensure that defendant was monitored and his treatment needs addressed. As conditions, I

ordered defendant to serve 6 months home confinement, provide access to all financial

information requested by the supervising probation officer, and participate in a mental health

treatment program. Other terms and conditions of the sentence appear in the judgment.

      Dated at Milwaukee, Wisconsin, this 2nd day of May, 2008.


                                         /s Lynn Adelman
                                         ________________________________________
                                         LYNN ADELMAN
                                         District Judge

                                              8


    Case 2:05-cr-00311-LA      Filed 05/02/08     Page 8 of 8   Document 169
